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From: Stephen Stenberg <stephen@pantheonresources.ai>
Date: Tuesday, 20 February 2024 at 04:15
To: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Cc: Kos Kuz <formail.kuznetsov@gmail.com>, lawrence@pantheonfinancial.com
<lawrence@pantheonfinancial.com>, Peter Bryce <peter.bryce@buzko.legal>
Subject: Re: Offer pertaining to electric bill at Gaffney

Filipp,

We'll be standing by to assist you. I consider mining without a hosting agreement to be in poor
faith. We will evaluate our legal options as well.



R/

Steve


From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Sent: Monday, February 19, 2024 7:52 PM
To: stephen@pantheonresources.ai <stephen@pantheonresources.ai>
Cc: Kos Kuz <formail.kuznetsov@gmail.com>; lawrence@pantheonfinancial.com
<lawrence@pantheonfinancial.com>; Peter Bryce <peter.bryce@buzko.legal>
Subject: Re: Offer pertaining to electric bill at Gaffney

Dear Mr. Stenberg, This offer has not been well received. Our client is in no mood to make a
counter-offer as he considers this proposal to be so one-sided as to be in poor faith. Please
take no action regarding any equipment or materials that belong to BEEQB, and advise
Blockquarry of the same. Blockquarry is in possession of our client's property. The client is
considering legal remedies for recovery and we will be in touch with Blockquarry's counsel
shortly.

Best Regards,
Filipp


---------- Forwarded message ---------
From: Stephen Stenberg <stephen@pantheonresources.ai>
Date: Mon, Feb 19, 2024 at 5:43 PM
Subject: Offer pertaining to electric bill at Gaffney
To: formail.kuznetsov@gmail.com <formail.kuznetsov@gmail.com>
Cc: Lawrence Davis <lawrence@pantheonfinancial.com>


Good afternoon,
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I am writing to get ahead on some movement that is taking place to resolve the issue of unpaid
electric bills from the Bitcoin mining operation at Gaffney, South Carolina.

Pantheon Resources Inc. has offered to assume the balance of unpaid electric in order to help
BlockQuarry Corp. clear its books in preparation for new business. BlockQuarry Corp. has
signaled its approval of this transfer.

Attached are a few documents related to this action and what we have in mind with respect to
this balance.

Description of attachments:

1. Documents related to BlockQuarry's intent to transfer this account to Pantheon Resources:
When BEEQB name first came up around December 2023 while Pantheon and BlockQuarry
officers were investigating those who accessed the Gaffney site without a hosting agreement,
we originally drafted language that placed the full amount of unpaid electric (~$750,000) with
BEEQB. This has been corrected as new information was made available and we recognize
and accept your claimed amount of $376,037.89.

2. An offer from Pantheon Resources that will allow BEEQB to resolve this balance through
mutual business agreements.


Both BlockQuarry and Pantheon Resources see mutual benefits across our three firms, and we
aim to move with purposeful intent to resolve any issues that have arisen from the confusing
and frustrating operation which took place at Gaffney.

I welcome your feedback and any ideas you have to advance a creative, amicable solution for
the balance.

Please do not hesitate to contact me or Lawrence Davis who is copied here.

Thank you very much

R/

Steve



STEPHEN T. STENBERG
CFO
Pantheon Resources Inc.

Interim-CEO/CFO
BlockQuarry Corp.

917-524-8734
stephen@pantheonresources.ai
New York, NY




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                                        December 14, 2023

BlockQuarry Corp.

Houston, TX
Attention: Lawrence Davis

Re: Purchase of Debt Owed to BlockQuarry Corp.


       This Agreement (this “Agreement”) is being executed in furtherance of a transaction by
BlockQuarry Corp, a Nevada Corporation (“BLQC”) and Pantheon Resources Inc., a Delaware
corporation involving Pantheon Resources purchasing the debt that is owed to BlockQuarry from
BEEQB LLC, a Florida Limited Liability Company from unpaid power bills at the Gaffney,
South Carolina site in the approximate amount of $750,000.00 USD.

       1. Terms of the Agreement

                      1. Pantheon Resources Inc., purchases the debt that is owed to BlockQuarry
            from BEEQB LLC, in exchange for services rendered relating to the move of Block-
            Quarry’s assets and equipment from Gaffney, South Carolina to Missouri.

                    2. Pantheon Resources Inc., as the holder of the debt has the authority from
            BlockQuarry to negotiate on any matters related to this debt.

       1.     Covenants of BLQC and Pantheon Resources Inc. BLQC and Pantheon Resources
              Inc., will: (a) conduct its business in the ordinary course in a manner consistent with
              past practice, (b) maintain its properties and other assets in good working condition
              (normal wear and tear excepted), and (c) use its best efforts to maintain its business
              and employees, customers, assets and operations as an ongoing concern in accor-
              dance with best industry practices.

       2.   GOVERNING LAW. THIS LETTER SHALL BE GOVERNED BY AND
       CONSTRUED IN ACCORDANCE WITH INTERNAL LAWS OF THE STATE OF
       TEXAS, WITHOUT GIVING EFFECT TO ANY CHOICE OR CONFLICT OF
       LAW PROVISION OR RULE (WHETHER OF THE STATE OF TEXAS OR ANY
       OTHER JURISDICTION) THAT WOULD CAUSE THE APPLICATION OF

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    LAWS OF ANY JURISDICTION OTHER THAN THOSE OF THE STATE OF
    TEXAS.


    3.      Confidentiality. This Letter is confidential to the Parties and their representatives.

    4.       No Third Party Beneficiaries. Except as specifically set forth or referred to here-
     in, nothing herein is intended or shall be construed to confer upon any person or entity
     other than the Parties and their successors or assigns, any rights or remedies under or by
     reason of this Letter.

    5.       Miscellaneous. This Agreement may be executed in counterparts, each of which
     shall be deemed to be an original, but all of which together shall constitute one agree-
     ment. The headings of the various sections of this Agreement have been inserted for ref-
     erence only and shall not be deed to be a part of this Agreement.




                           [SIGNATURE PAGE FOLLOWS]




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Pantheon Resources Inc.




      By:_________________________




      Printed Name: Lawrence Davis, President of Pantheon Resources Inc.




BlockQuarry Corp.




      By:_________________________




      Printed Name: Alonzo Pierce, President & Chairman of BlockQuarry Corp.




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Pantheon Resources Inc.                                             19 February 2024
14707 75th LN N
Loxahatchee, FL 33470


BEEQB LLC
1830 S Ocean Dr
Hallandale Beach, FL 33009


In recognition of an imminent transfer of ownership of the balance incurred by BEEQB
LLC for electricity use on the Bitcoin mining operation at the site located in Gaffney,
South Carolina, the team at Pantheon Resources Inc. would like to present a formal
offer for your consideration. Following completion of the transfer of the account to
Pantheon Resources Inc., we aim to offer flexible solutions that can help you.
We understand the complex nature of Cryptocurrency mining, but also the opportunities
it presents, and we wish to resolve any outstanding issues so our firms can advance our
business goals. With this we propose the following for settling the outstanding balance
of $376,037.89.


Mining Operation Agreement:
Enter into a service agreement with Pantheon Resources Inc. where we will host and
operate your mining operation. The revenue generated from the mining operation will be
applied towards the Operation and Maintenance of the site, with the remainder being
applied towards the balance owed until the full amount ($376,037.89) is satisfied.
Afterwords, a fair and competitive revenue share agreement can be implemented. The
terms of this agreement, including duration and specific operational details, will be
negotiated and defined before executing a definitive binding Agreement.




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We believe that this offers a fair and reasonable path that would allow us to resolve this
matter amicably while opening a channel to continue a professional relationship. We are
open to discussing this option further and are certainly willing to negotiate the terms to
customize a plan that works.
We are committed to working with you to finalize an agreement. Your prompt response
will be appreciated.




Respectfully,




LAWRENCE DAVIS
Chairman
Pantheon Resources Inc.




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